       Case 1:22-cv-00929-LJV-HKS Document 40 Filed 09/16/24 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF NEW YORK

JUSTICE FOR MIGRANT FAMILIES,       )
PRISONERS’ LEGAL SERVICES OF        )
NEW YORK, and ROBERT F. KENNEDY )
HUMAN RIGHTS,                       )
                                    )
             Plaintiffs,            )
                                    )                                22-CV-929 LJV (HKS)
             v.                     )
                                    )
U.S. IMMIGRATION AND CUSTOMS        )
ENFORCEMENT,                        )
                                    )
       Defendant.                   )
___________________________________ )

                             DEFENDANT’S STATUS REPORT

       Defendant, U.S. Immigration and Customs Enforcement (“ICE”), respectfully submits this

Status Report pursuant to the Court’s April 25, 2023, Decision and Order (ECF No. 21 at 6). Since

the issuance of the Court’s Order, ICE has processed approximately 10,000 pages of records over

the course of 18 interim releases. ICE will continue to make monthly productions to Plaintiffs until

the productions are complete. ICE estimates that there are approximately 11,000 additional pages

of potentially responsive records remaining to process.

       On June 14, 2024, ICE filed a Motion to Use a Representative Sample Vaughn Index (ECF

No. 33). On August 28, 2024, the Court issued a Decision and Order (ECF No. 39) granting ICE’s

motion.

                    ICE’S PROCESSING AND PRODUCTION OF RECORDS

       Since ICE’s last Status Report to the Court on June 14, 2024, ICE has made two additional

productions of records to Plaintiffs. Each production has included an Interim Release Letter stating
       Case 1:22-cv-00929-LJV-HKS Document 40 Filed 09/16/24 Page 2 of 3




the number of pages of potentially responsive records processed since the previous production and

the number of pages being released in full or in part. The Interim Release Letters also identified

the specific Freedom of Information Act (FOIA) Exemptions applied to each production.

             •   On July 16, 2024, ICE sent Plaintiffs its Seventeenth Interim Release Letter, stating
                 that it had processed 514 pages of potentially responsive records and included its
                 seventeenth production.

             •   On August 21, 2024, ICE sent Plaintiffs its Eighteenth Interim Release Letter,
                 stating that it had processed 514 pages of potentially responsive records and
                 included its eighteenth production.

       ICE will continue to process at least 500 pages per month and produce all relevant

documents until its productions are complete.

                                            VAUGHN INDICES

       On July 1, 2024, ICE sent Plaintiffs a Vaughn Index associated with ICE’s June 2024

production, which was based on a random sampling of every twenty-fifth page. On September 12,

2024, ICE sent Plaintiffs two Vaughn Indices associated with ICE’s July and August 2024

productions, based on a random sampling of every twenty-fifth page. ICE will provide Vaughn

Indices retroactively for previous productions with future Discovery Updates as they become

available.




                                                   2
      Case 1:22-cv-00929-LJV-HKS Document 40 Filed 09/16/24 Page 3 of 3




                                         CONCLUSION

      Consistent with the Court’s April 25, 2023, Order, ICE will submit another Status Report

on December 16, 2024.



Dated: September 16, 2024          Respectfully submitted,

                                   TRINI E. ROSS
                                   United States Attorney

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